

Matter of Gerber v Goldberg Segalla LLP (2021 NY Slip Op 06242)





Matter of Gerber v Goldberg Segalla LLP


2021 NY Slip Op 06242


Decided on November 12, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 12, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CARNI, J.P., LINDLEY, WINSLOW, AND BANNISTER, JJ.


785CA 21-00498

[*1]IN THE MATTER OF DANIEL W. GERBER, FRANK J. CIANO, WILLIAM G. KELLY, PAUL S. DEVINE, JOHN J. JABLONSKI AND DENNIS J. BRADY, PETITIONERS-APPELLANTS,
vGOLDBERG SEGALLA LLP, RESPONDENT-RESPONDENT. (APPEAL NO. 3.) 






VAHEY LAW OFFICES, PLLC, ROCHESTER (LAURIE A. VAHEY OF COUNSEL), FOR PETITIONERS-APPELLANTS.
WEBSTER SZANYI LLP, BUFFALO (KEVIN A. SZANYI OF COUNSEL), FOR RESPONDENT-RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Erie County (Emilio Colaiacovo, J.), entered November 19, 2020. The judgment awarded respondent the sum of $5,919.14 as against petitioner Daniel W. Gerber. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Gerber v Goldberg Segalla LLP ([appeal No. 2] — AD3d — [Nov. 12, 2021] [4th Dept 2021]).
Entered: November 12, 2021
Ann Dillon Flynn
Clerk of the Court








